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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

    UNITED STATES OF AMERICA                         )
                                                     )
    v.                                               )    CRIM. CASE NO. 2:06-cr-193-ECM
                                                     )                 (WO)
    JOSHUA WAYNE HESTER                              )

                          MEMORANDUM OPINION and ORDER

         Now pending before the Court is the Defendant’s “pro se emergency motion for

compassionate release” (doc. 66) which the Court construes as a motion for reduction of

sentence. Hester seeks a reduction in his sentence, which he describes as “compassionate

release,” pursuant to 18 U.S.C. § 3582(a)(1)(A), asserting that there are extraordinary and

compelling reasons that qualify him for a sentence reduction.1                      Specifically, Hester

contends that the novel coronavirus (COVID-19) coupled with his “underlying health

conditions such as Arrythmia, Cardiac Dysrhythmia Disorder of the heart, high cholesterol,

chronic debilitating migraine headache (sic) with Grand Mal seizures, and constant phlegm


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  To the extent that Hester seeks release to home confinement pursuant to the CARES Act due to the
COVID-19 pandemic (doc. 66 at 10), the Court has no authority to order the Bureau of Prisons to change
the Defendant’s current place of incarceration. “A defendant's request for home confinement under the
CARES Act is different than a request for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).”
United States v. Grant, 2020 WL 3899192, *1 (S.D. Ga. July 10, 2020); United States v. Allen, 2020 WL
2199626 (S.D. Ga. May 6, 2020) (“[A] request for home confinement under the CARES Act is different
than a reduction-in-sentence (RIS) request based upon compassionate release.”). The decision to release
inmates on home confinement rests with the Bureau of Prisons (“BOP”). See 18 U.S.C. § 3624(c)(2)(the
BOP has the authority “to place a prisoner in home confinement for the shorter of 10 percent of the term of
imprisonment of that prisoner or 6 months.”). While section 12003(b)(2) of the CARES Act allows the
BOP to extend the amount of time prisoners may serve in home confinement, it does not extend to the
District Court the authority to make such an order. See Allen, 2020 WL 2199626 at 1; United States v.
Daniels, 2020 WL 1938973, *2 (N.D. Ala. Apr. 22, 2020). The Court concludes that “under the CARES
Act, the BOP, through the Attorney General’s delegation, retains the ‘exclusive authority and sole discretion
to designate the place of an inmate’s confinement,’ including home confinement.” Id.
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buildup in my lungs due to mold and mildew,” (doc. 66 at 6), warrant a reduction of his

sentence. The United States opposes the motion. (Doc. 69). The motion is ripe for

resolution. For the reasons that follow, the Court concludes that the Defendant’s motion

is due to be denied.

         On November 20, 2006, the Defendant entered a guilty plea to an information

charging him with sexual exploitation of children in violation of 18 U.S.C. § 2251(a).

(Doc. 44).    On May 31, 2007, Hester was sentenced to a term of 292 months of

imprisonment. (Doc. 58). Hester’s current projected release date from the Bureau of

Prisons (“BOP”) is August 6, 2028. (https://www.bop.gov/inmateloc/ last visited Sept. 14,

2020).

                                      DISCUSSION

         “The authority of a district court to modify an imprisonment sentence is

narrowly limited by statute.” United States v. Phillips, 597 F.3d 1190, 1194–95 (11th Cir.

2010). Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), as amended by the First Step Act of 2018,

the Court may modify a criminal sentence when a defendant demonstrates that he has

exhausted his available administrative remedies and “extraordinary and compelling

reasons” warrant a sentence reduction. A reduction in sentence for “extraordinary and

compelling reasons” must be “consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).         The Sentencing Commission's

applicable policy statement is set forth at Application Note 1 to the Commentary of §

1B1.13 of the U.S. Sentencing Guidelines, which defines “extraordinary and compelling

reasons” as including (i) a terminal illness; (ii) the defendant's serious medical condition

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“that substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to recover”;

(iii) the advanced age of the defendant2; (iv) family circumstances such as death or

incapacitation of the caregiver of the defendant's minor children; and (v) other reasons,

“[a]s determined by the Director of the Bureau of Prisons.” § 1B1.13 of the U.S.

Sentencing Guidelines.

        Hester alleges that he is entitled to a sentence reduction because he has served more

than half of his sentence, he has underlying health conditions, and he has tested positive

for the coronavirus. Hester cites in detail the BOP’s “inadequate response to the pandemic”

to argue that these conditions combine to constitute “extraordinary and compelling”

reasons justifying a reduction in his sentence.

        A defendant may only move for such a reduction after he “has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or [after] the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). The

Court concludes that Hester properly pursued administrative relief and, thus, has exhausted

his administrative remedies. (Doc. 66-1).

        Because Hester has exhausted his administrative remedies, the Court now considers

whether his medical conditions are sufficiently extraordinary and compelling to warrant



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  The Commentary suggests that to qualify under the age provision, the Defendant must be “at least 65
years old,” his condition must be significantly deteriorating due to aging and he must have served at least
ten years or seventy-five percent of his sentence.

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reducing his sentence. In support of his motion for a reduction in sentence, Hester

submitted a positive COVID-19 test (doc. 66-2), as well as a 2018 Bureau of Prisons health

services report indicating his “health problems,” and a blood test from 2020 indicating high

cholesterol. (Doc. 66-7). The evidence submitted in support of his motion demonstrate

that Hester’s medical condition is not as severe as he alleges. Hester provides no evidence

that he has in fact been diagnosed with any particular condition, or that he has a particular

condition that cannot adequately be treated in prison. In fact, while Hester tested positive

for COVID-19, he was asymptomatic, treated, and has recovered. (Doc. 69-3). Hester

bears the burden of demonstrating that his circumstances are extraordinary and compelling

to warrant relief. United States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013). Hester’s

conclusory allegations that he suffers from, or is at greater risk due to his medical

conditions, without more, is simply insufficient for Hester to meet his burden of

demonstrating extraordinary and compelling reasons. The records further demonstrate that

Hester is being treated in prison. The Court concludes that Hester has failed to establish

that his medical conditions constitute extraordinary and compelling reasons that warrant a

sentence reduction.

       Hester further contends that his medical condition, coupled with the Bureau of

Prisons’ inadequate response to the COVID-19 pandemic, are extraordinary and

compelling reasons to reduce his sentence. The Court disagrees. Hester has recovered

from COVID-19 while incarcerated. While the existence of COVID-19 cases at the facility

is concerning, its presence alone is not an extraordinary and compelling reason that

warrants a sentence reduction.

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       Furthermore, before granting a sentence reduction, the Court must also consider the

sentencing factors set forth at 18 U.S.C. § 3553(a). These sentencing factors include the

nature and circumstances of the offense, the history and characteristics of the Defendant,

the need for deterrence, the need to avoid unwarranted sentencing disparities, and the need

to protect the public from further crimes of the Defendant. See 18 U.S.C. § 3583(e)(1) and

§ 3553(a). The Court now turns to the sentencing factors to determine whether a reduction

in sentence is warranted and is in the interest of justice.

       In considering the nature and circumstances of the offenses, coupled with the need

to protect the public and the need for deterrence, the Defendant argues that his “charge of

sexual exploitation of minors, although serious, is a non-violent offense.” (Doc. 66 at 10).

In addition, the Defendant asserts that he has taken multiple hours of programming, and he

is considered by the BOP to be “minimum/low risk” of recidivism, and thus, he is not a

danger to society. (Id.). The Defendant entered a guilty plea, pursuant to plea agreement,

to sexual exploitation of children. This charge involved sexual activity with a thirteen year

old victim and a fourteen year old victim. Hester also took sexually explicit photographs

of the victims. At the time of his plea, Hester agreed “[t]o a sentence at the low end of the

applicable guideline range, except that if the low end of the guideline range exceeds 235

months imprisonment, the defendant reserves the right to argue for a variance and/or a

departure to a sentence no lower that 235 months.” (Doc. 44 at 4). In other words, Hester

agreed to a sentence of at least 235 months imprisonment. The Defendant offers no cogent

reason why the interests of justice warrant a reduction in his sentence, and the Court

concludes that a reduction in sentence is not warranted at this time. Despite the BOP’s

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assessment that Hester’s Overall Male Pattern Risk Level is “Minimum/Low Risk” (doc.

66-8), this assessment does not appear to take into consideration the Defendant’s overall

criminal history and characteristics and, accordingly, is not dispositive.             The Court

concludes that a reduction in sentence is not warranted at this time due to the Defendant’s

history and characteristics, the nature and circumstances of the offenses, to deter the

Defendant and others from engaging in illegal activity, and to protect the public from

further crimes of the Defendant.3 The Court determines that a sentence reduction is not in

the interest of justice.

       To the extent that Hester argues that his post-conviction rehabilitation warrants a

sentence reduction, the Court disagrees.             The Court may consider post-conviction

rehabilitation when a defendant is resentenced.

               [W]hen a defendant's sentence has been set aside on appeal and
               his case remanded for resentencing, a district court may
               consider evidence of a defendant's rehabilitation since prior
               sentencing and that such evidence may, in appropriate cases,
               support a downward variance from the advisory Guidelines
               range.

Pepper v. United States, 562 U.S. 476, 490 (2011).

       Because Hester’s sentence has not been set aside on appeal and he is not before the

Court on remand for resentencing, post-sentencing rehabilitation is not an extraordinary

and compelling reason that warrants a sentence reduction.




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         The Court has reviewed the articles submitted by Hester but the interests of justice do not
warrant a reduction of sentence.

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                               CONCLUSION

Accordingly, for the reasons as stated, it is

ORDERED that the Defendant’s motion to reduce sentence (doc. 66) is DENIED.

DONE this 15th day of September, 2020.


                                       /s/ Emily C. Marks
                                EMILY C. MARKS
                                CHIEF UNITED STATES DISTRICT JUDGE




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